                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

                                           )
 DIMARIS BARRIOS-BELTRAN,                  )
      Plaintiff,                           )
                                           )
 v.                                        )         Civil Action No. 3:16-cv-10016-MGM
                                           )
 AMHERST COLLEGE and                       )
 VICTORIA MAILLO,                          )
      Defendants.                          )
                                           )

                        ANSWER OF DEFENDANT VICTORIA MAILLO
                       TO PLAINTIFF’S FIRST AMENDED COMPLAINT

         Defendant Victoria Maillo (“Maillo”) responds to the First Amended Complaint of Plaintiff

Dimaris Barrios-Beltran (“Plaintiff”), as follows:

                                               Parties

         1.     Maillo lacks sufficient knowledge to admit or deny the allegation, and calls upon

Plaintiff to prove the same at trial.

         2.     Admitted.

         3.     Admitted.

                                                Facts

         4.     Maillo admits that Plaintiff was employed by Amherst College (“Amherst”) as a

Spanish Department lecturer beginning in the Fall 2012 semester. Maillo denies the second sentence

in Paragraph 2. The third sentence purports to pertain to a document, which speaks for itself.

         5.     Denied.

         6.     Denied.

         7.     Denied.




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         8.      Maillo denies Plaintiff’s characterization of the work environment in the Spanish

Department as “conflictive and hostile” as alleged. Maillo lack sufficient knowledge to admit or

deny the remainder of the allegations, and calls upon Plaintiff to prove the same at trial.

         9.      Maillo lacks sufficient knowledge to admit or deny the allegations, and calls upon

Plaintiff to prove the same at trial. To the extent that an answer is required, Maillo denies all

allegations concerning Maillo’s alleged conduct with respect to the teaching assistant, and Maillo

denies all alleged statements attributed to her.

         10.     Maillo lacks sufficient knowledge to admit or deny the allegations, and calls upon

Plaintiff to prove the same at trial. To the extent that an answer is required, Maillo denies all

allegations concerning Maillo’s alleged conduct with respect to teaching assistants.

         11.     Maillo admits that Utes Brandes was the Chair of the Spanish Department, and was

both Plaintiff’s and Maillo’s supervisor. Maillo denies the allegations in the last sentence in

Paragraph 11, and specifically denies ever retaliating against Plaintiff. Maillo lacks sufficient

knowledge to admit or deny the remainder of the allegations, and calls upon Plaintiff to prove the

same at trial.

         12.     Maillo lacks sufficient knowledge to admit or deny whether Plaintiff “continuously

complained to Ms. Brandes” about Maillo’s alleged conduct, and calls upon Plaintiff to prove the

same at trial. To the extent that an answer is required, Maillo denies all allegations concerning her

alleged conduct, and specifically denies retaliating against Plaintiff.

         13.     Denied.

         14.     Denied.




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         15.     Maillo denies all allegations concerning retaliation against Plaintiff. Maillo lacks

sufficient knowledge to admit or deny the remainder of the allegations, and calls upon Plaintiff to

prove the same at trial.

         16.     Maillo lacks sufficient knowledge to admit or deny the allegations, and calls upon

Plaintiff to prove the same at trial.

         17.     Maillo admits meeting with Plaintiff to discuss Plaintiff’s classes, including the

Spanish for Heritage Speakers class. Maillo denies the remainder of the allegations.

         18.     Maillo admits submitting a written evaluation of Plaintiff’s performance as requested

by Amherst as part of Plaintiff’s reappointment process. The written evaluation speaks for itself.

Maillo denies all allegations concerning discrimination, retaliation, and harassment. Maillo lacks

sufficient knowledge to admit or deny the remainder of the allegations, and calls upon Plaintiff to

prove the same at trial.

         19.     Maillo lacks sufficient knowledge to admit or deny the allegations, and calls upon

Plaintiff to prove the same at trial.

         20.     Maillo denies all allegations concerning her alleged conduct, and specifically denies

that Maillo “directly interfered” with Plaintiff’s class enrollment numbers and denies that Maillo

“encouraged students not to take Plaintiff’s classes and made negative, derogatory, comments

regarding the Plaintiff’s teaching ability” to cause students not to enroll in Plaintiff’s classes. Maillo

lacks sufficient knowledge to admit or deny the remainder of the allegations, and calls upon Plaintiff

to prove the same at trial.

         21.     Maillo lacks sufficient knowledge to admit or deny the allegations, and calls upon

Plaintiff to prove the same at trial. Further, the allegation purports to pertain to a document, which

speaks for itself.




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         22.    Maillo lacks sufficient knowledge to admit or deny the allegations, and calls upon

Plaintiff to prove the same at trial.

         23.    Maillo lacks sufficient knowledge to admit or deny the allegations, and calls upon

Plaintiff to prove the same at trial.

         24.    Maillo denies all allegations concerning sexual harassment, hostile work

environment, and retaliation. Maillo lacks sufficient knowledge to admit or deny the remainder of

the allegations, and call upon Plaintiff to prove the same at trial.

         25.    Maillo denies all allegations concerning retaliation and discrimination. Maillo lacks

sufficient knowledge to admit or deny the remainder of the allegations, and calls upon Plaintiff to

prove the same at trial.

         26.    Maillo lacks sufficient knowledge to admit or deny the allegations, and calls upon

Plaintiff to prove the same at trial.

         27.    Denied.

         28.    Denied.

         29.    Denied.

         30.    Upon information and belief, Maillo admits that Plaintiff’s employment with

Amherst reportedly ended in the Spring of 2015.

         31.    Denied.

         32.    Upon information and belief, Maillo admits that Plaintiff’s employment with

Amherst reportedly ended in the Spring of 2015.

         33.    Denied.

         34.    Maillo admits that Plaintiff filed a Charge of Discrimination with state and federal

agencies. The remainder of the allegations state a legal conclusion, for which no answer is required.




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                                             Count I
                        M.G.L. c. 151B – Retaliation/Wrongful Termination

         35.    Maillo repeats and incorporates by reference all responses to all prior Paragraphs, as

if each were fully set forth herein.

         36.    Denied.

         37.    Denied.

         38.    Denied.

                                             Count II
                          M.G. L. c. 151B – National Origin Discrimination

         39.    Maillo repeats and incorporates by reference all responses to all prior Paragraphs, as

if each were fully set forth herein.

         40.    Denied.

         41.    Denied.

         42.    Denied.

                                              Count III
                                        Title VII - Retaliation

         43.    Maillo repeats and incorporates by reference all responses to all prior Paragraphs, as

if each were fully set forth herein.

         44-47. Count III pertains solely to Amherst, and no response is required by Maillo. To the

extent that a response is required, Maillo denies all allegations concerning Maillo’s alleged conduct,

and specifically denies any sexual harassment, retaliation, or discrimination.

                                              Count IV
                             Title VII – National Origin Discrimination

         48.    Maillo repeats and incorporates by reference all responses to all prior Paragraphs, as

if each were fully set forth herein.




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         49-51. Count IV pertains solely to Amherst, and no response is required by Maillo. To the

extent that a response is required, Maillo denies all allegation concerning Maillo’s conduct, and

specifically denies any sexual harassment, retaliation, or discrimination.

                                    AFFIRMATIVE DEFENSES

                                      First Affirmative Defense

         The Amended Complaint fails to state a claim upon which relief can be granted because

Plaintiff fails to state actionable claims for discrimination or retaliation against Maillo.

                                    Second Affirmative Defense

         Plaintiff’s claims are barred in whole or in part by the applicable statutes of limitations,

and Plaintiff states no basis for tolling or extending the applicable deadlines.

                                     Third Affirmative Defense

         Plaintiff’s claims are barred by waiver or estoppel.

                                    Fourth Affirmative Defense

         Plaintiff’s claims are barred in whole or in part by failure to mitigate damages claimed.

                                      Fifth Affirmative Defense

         Plaintiff fails to establish any loss or damage caused by the actions of Maillo.

                                     Sixth Affirmative Defense

         To the extent Plaintiff suffered loss or damage, such loss or damage was caused by a

third-party for which Maillo is not responsible.

                                    Seventh Affirmative Defense

         Plaintiff’s claims are barred in whole or in part by Plaintiff’s own conduct.




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                                     Eighth Affirmative Defense

         Maillo did not cause Amherst not to reappoint Plaintiff in 2015, and Maillo was not

responsible for the reappointment decision concerning Plaintiff.

                                     Ninth Affirmative Defense

         Maillo did not retaliate against Plaintiff with respect to Plaintiff’s employment with

Amherst.

                                     Tenth Affirmative Defense

         Maillo did not engage in any unlawful sexual harassment while employed by Amherst.

                                   Eleventh Affirmative Defense

         Maillo did not engage in intentional discrimination or harassment of Plaintiff because of

Plaintiff’s national origin or ethnicity.

                                     Twelfth Affirmative Defense

         Maillo did not subject Plaintiff to any adverse employment action.

                                  Thirteenth Affirmative Defense

         Maillo at all times acted in good faith and consistent with legitimate academic interests

with respect to matters involving Plaintiff.

                                  Fourteenth Affirmative Defense

         Maillo is not personally liable or responsible for any employment decisions taken by

Amherst with respect to Plaintiff.

                                   Fifteenth Affirmative Defense

         Plaintiff’s claims are barred in whole or in part by Plaintiff’s own personal animus

towards Maillo.




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                                  Sixteenth Affirmative Defense

         Plaintiff fails to prove any emotional distress caused directly by the conduct of Maillo.



         Maillo reserves the right to supplement or amend all Affirmative Defenses as discovery

proceeds in this action.



                                     REQUEST FOR RELIEF

         WHEREFORE, Defendant Victoria Maillo respectfully requests this Honorable Court

to:

         1.     Dismiss the Amended Complaint with prejudice;

         2.     Enter judgment against Plaintiff on all Counts of the Amended Complaint;

         3.     Award fees and costs incurred in defending this action; and,

         4.     Grant such other and further relief as this Court deems just and proper.

                                           Respectfully submitted,

                                           VICTORIA MAILLO,

                                           By her attorneys,


                                           /s/ Peter F. Carr, II
                                           Peter F. Carr, II (BBO # 600069)
                                           ECKERT SEAMANS CHERIN & MELLOTT, LLC
                                           Two International Place, 16th floor
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                                           617.342.6800
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                                           pcarr@eckertseamans.com
Date: May 19, 2016




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                                 CERTIFICATE OF SERVICE

       I, Peter F. Carr, II, Esquire, certify that on this date this document filed through the ECF
system will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to the non-registered participants.


Date: May 19, 2016                    /s/ Peter F. Carr, II
                                      Peter F. Carr, II




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